                                                             FILED
 1                                                          Aug 22 2019
 2                                                      CLERK, U.S. DISTRICT COURT
                                                     SOUTHERN DISTRICT OF CALIFORNIA
                                                    BY         o/ yeoeniab      DEPUTY
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 5                          UNITED STATES DISTRICT COURT

 6                    SOUTHERN DISTRICT OF CALIFORNIA

 7
     UNITED STATES OF AMERICA,       Case No.    '19 CR3222 H

 8                 Plaintiff,            I N F O R MA T I O N
          V.

 9                                       Title 18, U.S.C., Sec. 242 -
     JASON ANDREW MCGILVRAY,             Deprivation of Rights Under Color
10                                       of Law (misdemeanor)
                   Defendant.
11

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          The United States Attorney charges:
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          On or about February 16,      2019,   within the Southern District of
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     California, defendant JASON ANDREW MCGILVRAY, while acting under color
16
     of law, as a United States Border Patrol Agent, struck B.S.S., willfully
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     depriving him of the right,    secured and protected by the Constitution
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     and laws of the United States,      to be free      from unreasonable use of
19
     force, in violation of Title 18, United States Code, Section 242.
20
          DATED:     August /6, 2019.
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22                                         ROBERTS. BREWER, JR.
                                           United States Attorney


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                                           OLEKSANDRA Y. JOHNSON
25                                         Assistant U.S. Attorney

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